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                                                              Judge Franklin D. Burgess
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8
                             UNITED STATES DISTRICT COURT
9
                            WESTERN DISTRICT OF WASHINGTON
10                                    AT TACOMA
11

12   UNITED STATES OF AMERICA,        )
                                      )
13                         Plaintiff, )                      NO. CR04-5516FDB
14                                    )
                      v.              )                      FINAL ORDER OF
15                                    )                      FORFEITURE, 540 THIRD
16
     MICHAEL STEFFEN,                 )                      AVENUE, FOX ISLAND,
                                      )                      WASHINGTON
17                         Defendant. )
     ________________________________ )
18

19       This matter is before the Court pursuant to Rule 32.2(c), Federal Rules of Criminal
20
     Procedure for entry of a Final Order of Forfeiture following the conclusion of ancillary
21
     proceedings as to real property located at 540 Third Avenue, Fox Island, Washington,
22

23   more particularly described below.

24          On September 6, 2005, the Court entered a Second Amended Preliminary Order of
25
     Forfeiture in the above-captioned case forfeiting certain properties to the United States,
26

27
     including defendant Michael Steffen’s interest in the following property:

28

     FINAL ORDER OF FORFEITURE, 540 THIRD AVENUE,
     FOX ISLAND, WASHINGTON - 1                                                   UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
     CR04-5516FDB
                                                                                 SEATTLE, WASHINGTON 98101-1271
                                                                                          (206) 553-7970
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1                    Real property, together with its buildings, appurtenances, fixtures,
2
     attachments and easements, located at 540 3rd Avenue, Fox Island, Washington, more
3
     particularly described as follows:
4

5
              PARCEL A: Beginning at the Northwest corner of Lot 4, Section 35,
6             Township 21 North, Range 1 East of the W.M., in Pierce County,
              Washington; thence South along the West line of said Lot 4 to intersection
7             with meander line of said lot; thence North 31°10' West along the meander
8             line, 182 feet to the true point of beginning; thence continue North 31°10'
              West along the meander line, 65.66 feet; thence East 128.17 feet to the
9             West line of said Lot 4; thence North along the West line of said lot to a
10
              point 513.42 feet South of said Northwest corner of Lot 4; thence East to
              the Westerly line of Dreazy County Road; thence Southeasterly along said
11            Westerly line to a point North 70°30' East of the true point of beginning;
              thence South 70°30' West to the true point of beginning.
12

13
              PARCEL B: Beginning at a point 513.42 feet South of the Northeast corner
14            of Government Lot 4, Section 34, Township 21 North, Range 1 East of the
              W.M., in Pierce County, Washington, on Fox Island; thence South and
15
              parallel to the East line of said Section 34, 85.57 feet; thence West at right
16            angle to said East line, 128.17 feet to the meander line of Carr’s Inlet;
              thence Northwesterly along said meander line, 100 feet; thence East 179.92
17
              feet to the point of beginning.
18

19            TOGETHER WITH an undivided one-eighth interest in the following
              described property:
20
              Beginning at a point 20 feet West and 33.11 feet North of the Northeast corner of
21            Government Lot 4 in said Section 34; thence West 150 feet; thence South parallel
22            to the East line of said Section 34, 100 feet; thence East parallel to the North line
              of said Lot 4, 150 feet; thence North 100 feet to the point of beginning.
23
              Situate in the County of Pierce, State of Washington
24            Tax Parcel No. 0121353006 (“Fox Island property”).
25
              Pursuant to the Preliminary Order the United States Marshals Service has seized
26
     the Fox Island property and has maintained it in its custody pending further order of this
27

28   Court.

     FINAL ORDER OF FORFEITURE, 540 THIRD AVENUE,
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1                   The Fox Island property is subject to forfeiture pursuant to Title 21, United
2
     States Code, Section 853, because it was used, or intended to be used by defendant
3
     Michael Steffen to commit or to facilitate the commission of a violation of Title 21,
4

5    United States Code, Sections 841(a)(1), 841(b)(1)(B), and 846 and constitutes, or is
6
     derived from, proceeds the defendant obtained, directly or indirectly, as the result of said
7
     offense.
8

9           On March 16, 23, and 30 notice of the Preliminary Order of Forfeiture and of the

10   United States’ intent to dispose of the Fox Island property in accordance with law was
11
     published in the Daily Journal of Commerce and in the Tacoma News Tribune. The
12

13
     notices advised any person, other than the defendant, having or claiming a legal interest

14   in the Fox Island property, to file a petition with the Court within thirty (30) days of the
15
     final publication of notice or of receipt of actual notice, whichever was earlier, setting
16
     forth the nature and extent of the petitioner’s right, title or interest in the forfeited
17

18   property any additional facts supporting the claim, and the nature of the relief sought.
19
     The United States also, to the extent possible, provided direct written notice as a
20
     substitute for the published notice to any person known to have alleged an interest in the
21

22   Fox Island property. Among the persons so notified were Kimo R. and Anne L. Streeter,

23   a married couple, of 267 Shorewood Court, Fox Island, WA, 98333. The Streeters
24
     received notice via certified mail on March 18, 2005, personally signed for by Anne L.
25
     Streeter. More than thirty (30) days have passed since then, and no petition asserting an
26

27   interest in the Fox Island property has been filed by, or on behalf of, the Streeters. On
28

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1    August 12, 2005 the Clerk entered a default pursuant to Rule 55(a), Federal Rules of
2
     Civil Procedure, against Kimo R. and Anne L. Streeter and all unknown persons who
3
     have failed to file a petition asserting an interest in the Fox Island property.
4

5           On April 1, 2005, a petition asserting a lien interest in the Fox Island property was
6
     submitted on behalf of Kitsap Bank, Mortgage Electronic Registration Systems, Inc., and
7
     Countrywide Home Loans, hereinafter, “Countrywide.”
8

9           On April 19, 2005, Susanne M. White filed a petition claiming an interest in “real

10   property owned by Michael Steffen,” potentially asserting a claim against the Fox Island
11
     property.
12

13
            On April 29, 2005, William and Beverly Steffen submitted a petition claiming an

14   interest in the Fox Island property.
15
            No other claims or petitions have been submitted with respect to the Fox Island
16
     property, and the time permitted for doing so has expired.
17

18          On June 16, 2005, the Court entered an Order dismissing the petition and claim of
19
     Susanne M. White.
20
            Plaintiff, United States of America, Petitioner Countrywide Home Loans, and
21

22   Petitioners William and Beverly Steffen, through their respective counsel, have entered

23   into a Stipulation for Compromise and Settlement of Claims (Settlement Agreement)
24
     which was filed with the Court on September 22, 2005.        The Court hereby approves the
25
     parties’ Settlement Agreement and enters this Final Order of Forfeiture in accordance
26

27   with its terms. Accordingly, it is hereby ORDERED:
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1           1.      The Fox Island property is hereby fully and finally forfeited to the United
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                    States, and the United States shall have clear title thereto, subject to the
3
                    interest of Countrywide, as specifically defined below.
4

5           2.      Countrywide shall retain an lien interest in the Fox Island property in the
6
                    amount of $491,282.01.73 representing the principal and interest due as of
7
                    April 30, 2005, under the promissory note of Michael Steffen, plus a per
8

9                   diem amount of $76.11 per day thereafter.

10          3.      The United States shall not sell the Fox Island property for less than the lien
11
                    interest of Countrywide as set forth in paragraph 2 above. If the United
12

13
                    States is unable to obtain a buyer of the property and does not accept an

14                  offer to purchase the property before October 1, 2006, for an amount
15
                    greater than the amount stated in paragraph 2 above plus all state and local
16
                    property taxes due as of the date of this Final Order of Forfeiture, the
17

18                  United States shall thereafter transfer its interest in the Fox Island property
19
                    to Countrywide, in full satisfaction of Countrywide’s lien interest. If any
20
                    offer to purchase the property is accepted by the United States after
21

22                  September 15, 2006, the closing of the transaction and the transfer of the

23                  property to the purchaser must occur within 45 days of the offer’s
24
                    acceptance, provided that the interest of Countrywide as defined in
25
                    paragraph 2 above is satisfied and real estate taxes due as of the date of this
26

27                  Order are paid at the closing of the transaction. Any further extension of
28

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1                   closing beyond said 45 days must be approved by Countrywide.
2
            4.      In the event the United States is able to sell the Fox Island property for
3
                    more than the lien interest of Countrywide as set forth in paragraph 2
4

5                   above, plus real estate taxes due as of the date of this Order, then, after
6
                    deduction of the expenses of sale, and of marketing, maintenance,
7
                    safeguarding and improvement of the property pending sale, any remaining
8

9                   amount, up to $30,000 shall be divided evenly between the United States on

10                  the one hand and petitioners William and Beverly Steffen, on the other
11
                    hand. Any amounts due to the United States under this paragraph shall be
12

13
                    deposited into the Assets Forfeiture Fund of the Department of Justice.

14          5.      Upon payment of Countrywide’s principal and interest due as set forth in
15
                    paragraph 2, above, Countrywide shall promptly cause a full reconveyance
16
                    of its deed of trust pertaining to the Fox Island property to be filed in the
17

18                  land title records of Pierce County, Washington.
19
            6.      Any net amount exceeding $30,000, remaining after satisfaction of
20
                    Countrywide’s lien interest, payment of taxes due, and the payments set
21

22                  forth in paragraph 4 above, shall be property of the United States and

23                  deposited into the Assets Forfeiture Fund of the Department of Justice.
24
            7.      Except as provided in paragraph 4 above with respect to costs of the United
25
                    States Marshals Service, each party is to bear its own costs and attorney’s
26

27                  fees.
28

     FINAL ORDER OF FORFEITURE, 540 THIRD AVENUE,
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1           8.       This Final Order of Forfeiture, finally disposes of all claims to the Fox
2
                     Island property and of any causes of action arising out of identification of
3
                     the Fox Island property as being subject to criminal forfeiture in this case.
4

5                    The parties shall execute such further documents, to the extent necessary, to
6
                     implement the terms of this Order.
7
            9.       The Clerk of the Court is directed to mail a copy of this Final Order of
8

9                    Forfeiture to the attorneys for each party of record, to deliver a copy to the

10                   United States Marshals Service, and to send three additional, certified
11
                     copies to the United States Marshals Service, Seattle, Washington.
12




                                                 A
13
            DATED this 3rd day of November, 2005.

14

15
                                                 FRANKLIN D. BURGESS
16                                               UNITED STATES DISTRICT JUDGE

17
     Presented by:
18

19    /s/ Peter O. Mueller
     PETER O. MUELLER
20   Assistant United States Attorney
21

22   /s/ Robert W. Sargeant
     ROBERT W. SARGEANT
23   Attorney for Petitioner
24
     Countrywide Home Loans

25
     /s/ Zenon Peter Olbertz
26   ZENON PETER OLBERTZ
27
     Attorney for William and Beverly
     Steffen
28

     FINAL ORDER OF FORFEITURE, 540 THIRD AVENUE,
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     FINAL ORDER OF FORFEITURE, 540 THIRD AVENUE,
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